Case 1:08-cv-01234-LJM-JMS Document 5 Filed 10/22/08 Page 1 of 1 PageID #: 48




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA



ANTHONY SPRADLEY,                         )
                                          )
                      Movant,             )
                                          )
        v.                                )      No. IP 98-38-CR-01-M/F
                                          )      No. 1:08-cv-1234-LJM-JMS
UNITED STATES OF AMERICA,                 )




                                     JUDGMENT

        The court, having this day made its Entry,

     IT IS THEREFORE ADJUDGED that the civil action docketed as No. 1:08-cv-1234-
LJM-JMS is dismissed for lack of jurisdiction.




Date:    10/22/2008                             ________________________________
                                                LARRY J. McKINNEY, JUDGE
                                                United States District Court
Laura Briggs, Clerk
                                                Southern District of Indiana
United
Laura A.States District
         Briggs, Clerk Court


BY: __________________________________
       Deputy Clerk, U. S. District Court
By: Deputy Clerk


Distribution:

Anthony Spradley, #05772-028, USP McCreary, P.O. Box 3000, Pine Knot, KY, 42635
Gerald A. Coraz, Office of the United States Attorney, 10 West Market Street
      Suite 2100, Indianapolis, IN 46204-3048
